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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


BLACK LOVE RESISTS IN THE RUST by and
through its Co-Directors Natasha Soto and Shaketa
Redden and on behalf of its members; DORETHEA
FRANKLIN; TANIQUA SIMMONS; DE’JON HALL;
JOSEPH BONDS; CHARLES PALMER; SHIRLEY
SARMIENTO; EBONY YELDON; and JANE DOE,
individually and on behalf of a class of all others
similarly situated;

                                      Plaintiffs,

       v.                                                       Civil No.: 1:18-cv-00719-CCR

CITY OF BUFFALO, NY; BYRON B. BROWN,
Mayor of the City of Buffalo, in his individual and
official capacities; BYRON C. LOCKWOOD,
Commissioner of the Buffalo Police Department, in his
individual and official capacities; DANIEL DERENDA,
former Commissioner of the Buffalo Police Department,
in his individual capacity; AARON YOUNG, KEVIN
BRINKWORTH, PHILIP SERAFINI, ROBBIN
THOMAS, UNKNOWN SUPERVISORY
PERSONNEL 1-10, UNKNOWN OFFICERS 1-20,
each officers of the Buffalo Police Department, in their
individual capacities.

                                      Defendants.



                 DECLARATION IN SUPPORT OF CITY
            DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

               PETER A SAHASRABUDHE, subject to the penalties for perjury and under 28

U.S.C. § 1746, declares the following to be true and correct:
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               1.         I am an attorney at law, duly licensed to practice in New York, and

admitted to practice before the Courts for the Western District of New York. I am an attorney

employed by Hodgson Russ LLP, the attorneys for Defendants in this action.


               2.         I submit this declaration in support of the City of Buffalo, former Mayor

Byron B. Brown, Byron C. Lockwood, Daniel Derenda, Aaron Young, Kevin Brinkworth, Philip

Serafini, and Robbin Thomas’ (collectively “the City Defendants”) Motion for Summary

Judgment.


               3.         I am familiar with this action and the attached exhibits based on the fact

that I am an attorney of record, have reviewed the case file, and have been involved in this matter

for nearly three years.


               4.         The purpose of this declaration is to place before the Court relevant

information, documentary, and testimonial evidence necessary for the Court’s consideration of

the City Defendants’ Motion for Summary Judgment.


Pleadings


               5.         Attached as Exhibit 1 is a copy of Plaintiffs’ original Complaint, Dkt. No.

1, dated June 28, 2018.


               6.         Attached as Exhibit 2 is a copy of the City Defendants’ Answer to

Plaintiffs’ original Complaint, Dkt. No. 6, dated July 30, 2018.


               7.         Attached as Exhibit 3 is a copy of Plaintiffs’ Amended and Supplemental

Complaint, Dkt. No. 63, dated May 21, 2020.


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                8.    Attached as Exhibit 4 is the City Defendants’ Answer to Plaintiffs’

Amended and Supplemental Complaint, Dkt. No. 64, dated June 4, 2020.


Discovery in this Case


                9.    Plaintiffs have demanded and received an exorbitant amount of discovery

in this case.


                10.   Plaintiffs have taken the depositions of approximately 34 City witnesses.

See Dkt. No. 160. These depositions included former Mayor Byron Brown, three former BPD

Commissioners, and two former and one current Internal Affairs Department Inspectors.


                11.   Many of these depositions spanned multiple days.


                12.   Plaintiffs demanded 30(b)(6) testimony on 33 topics which several sub-

parts.


                13.   Plaintiffs demanded and continue to demand thousands of traffic-stop

related records spanning over a decade, including hundreds of files of body camera footage.


                14.   In sum, Plaintiffs have had more than enough opportunities to gather

evidence to support their claims. They have failed to do so.


Testimonial Evidence


                15.   Attached as Exhibit 5 is the declaration of Buffalo Police Department

(“BPD”) Commissioner Alphonso Wright, dated February 6, 2025.




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              16.    Attached as Exhibit 6 are excerpts of testimony given by former BPD

Commissioner Joseph Gramaglia at a deposition on September 22, 2023.


              17.    Attached as Exhibit 7 are excerpts of testimony given by former BPD

Commissioner Joseph Gramaglia at a 30(b)(6) deposition on January 24, 2024.


              18.    Attached as Exhibit 8 are excerpts of testimony given by BPD Captain

Derrick Banaszak at a 30(b)(6) deposition on January 24, 2024.


              19.    Attached as Exhibit 9 are excerpts of testimony given by BPD Detective

Richard Hy on July 19, 2023.


              20.    Attached as Exhibit 10 are excerpts from deposition testimony given by

the former May of the City of Buffalo, Byron Brown, on November 6, 2023.


              21.    Attached as Exhibit 11 are excerpts from deposition testimony given by

former BPD Commissioner Daniel Derenda on November 10, 2021.


              22.    Attached as Exhibit 12 are excerpts from deposition testimony given by

former BPD Commissioner Daniel Derenda on December 23, 2021.


              23.    Attached as Exhibit 13 are excerpts from deposition testimony given by

former BPD Lieutenant Lance Russo on April 29, 2022.


              24.    Attached as Exhibit 14 are excerpts from deposition testimony given by

former BPD Chief Kevin Brinkworth on March 16, 2022.


              25.    Attached as Exhibit 15 are excerpts from deposition testimony given by

Officer Jared Domaracki on July 18, 2023.
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              26.    Attached as Exhibit 16 are excerpts from deposition testimony given by

Buffalo Police Department Detective Michael Acquino on September 5, 2023.


              27.    Attached as Exhibit 17 are excerpts from deposition testimony given by

Lieutenant Buffalo Police Officer Joseph Fahey on December 19, 2019.


              28.    Attached as Exhibit 18 are excerpts from deposition testimony given by

former Buffalo Police Department Commissioner Byron Lockwood on August 10, 2023.


              29.    Attached as Exhibit 19 are excerpts from deposition testimony given by

former Buffalo Police Department Commissioner Byron Lockwood on August 17, 2023.


              30.    Attached as Exhibit 20 are excerpts from deposition testimony given by

Lieutenant Buffalo Police Officer Charles Miller on November 8, 2023.


              31.    Attached as Exhibit 21 are excerpts from deposition testimony given by

Buffalo Traffic Violations Agency Administrator Danielle Morgera on May 26, 2022.


              32.    Attached as Exhibit 22 are excerpts from deposition testimony given by

Lieutenant Buffalo Police Officer Michael Quinn on April 1, 2022.


              33.    Attached as Exhibit 23 are excerpts from deposition testimony given by

Former Buffalo Police Captain Philip Serafini on December 27, 2021.


              34.    Attached as Exhibit 24 are excerpts from deposition testimony given by

Buffalo Police Officer Charles Skipper on March 5, 2021.


              35.    Attached as Exhibit 25 are excerpts from deposition testimony given by

Buffalo Police Officer Robbin Thomas on March 23, 2023.
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              36.    Attached as Exhibit 26 are excerpts from deposition testimony given by

City Traffic Violations Prosecutor and Parking Commissioner Octavio Villegas on June 8, 2023.


              37.    Attached as Exhibit 27 are excerpts from deposition testimony given by

former Lieutenant Buffalo Police Officer Thomas Whelan on April 26, 2022.


              38.    Attached as Exhibit 28 are excerpts from deposition testimony given by

former Lieutenant Buffalo Police Officer David Wilcox on November 4, 2021.


              39.    Attached as Exhibit 29 are excerpts from deposition testimony given by

Chief of Schools Aaron Young on October 26, 2022.


              40.    Attached as Exhibit 30 is the transcript of deposition testimony given by

Plaintiff Ebony Yeldon on December 13, 2022.


              41.    Attached as Exhibit 31 is the transcript of deposition testimony given by

Plaintiff Taniqua Simmons on May 16, 2023.


              42.    Attached as Exhibit 32 is the transcript of deposition testimony given by

Plaintiff Shirley Sarmiento on December 13, 2022.


              43.    Attached as Exhibit 33 is the transcript of deposition testimony given by

Plaintiff Shaketa Redden on September 6, 2023.


              44.    Attached as Exhibit 34 is the transcript of deposition testimony given by

Plaintiff Charles Palmer on September 14, 2023.


              45.    Attached as Exhibit 35 is the transcript of deposition testimony given by

Plaintiff De’Jon Hall on May 17, 2023.
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               46.     Attached as Exhibit 36 is the transcript of deposition testimony given by

Plaintiff Dorothea Franklin on May 15, 2023.


               47.     Attached as Exhibit 37 is the transcript of deposition testimony given by

Plaintiff Jasmine Evans (Jane Doe) on December 15, 2022.


               48.     Attached as Exhibit 38 is the transcript of deposition testimony given by

Plaintiff Joseph Bonds on December 15, 2022.


Documentary Evidence


               49.     Attached as Exhibit 39 is the BPD’s Manual of Procedures.


               50.     Attached as Exhibit 40 is BPD General Order 2021-009.


               51.     Attached as Exhibit 41 is a BPD Roadblock Directive, dated November

21, 2013.


               52.     Attached as Exhibit 42 is a guide for individuals who wish to appeal a

determination made by a BTVA judicial hearing officer.


               53.     Attached as Exhibit 43 is the expert report authored by the City

Defendants’ expert Dr. David Banks, Ph.D.


               54.     Based on the evidence submitted herewith, and based on the legal

argument contained in the accompanying Memorandum of Law, the City Defendants respectfully

request that the Court grant the City Defendants’ Motion for Summary Judgment.


I declare under penalty of perjury that the foregoing is true and correct.


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Dated:       Buffalo, New York
             February 7, 2025

                                                     s/ Peter A. Sahasrabudhe
                                                       Peter A. Sahasrabudhe




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